Case 2:08-cr-00064-JCM-EJY       Document 375       Filed 01/13/12     Page 1 of 1


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                                                           CLERK,t).s.DISTRICT COURT
                                                              DISTRICT oF NEVADA
                                                      BY                         DEPUTY



                         UNITED STATES DISTRICT COURT
                              DISTRICT O F NEVADA

 UNITED STATES OF AM ERICA.                     )
                                                )
                    Plaintiff,                  )
                                                )
                                                )       2:08-CR-064-RLH (GW F)
                                                )
 AM Y R.ORTIZS                                  )
                                                )
                    Defendant.                  )

                                 O R D ER O F FO RFE ITU RE
        ThisCourtfoundon February 11,2011,thatAM Y R.ORTIZ shallpay acrim inalforfeiture

 moneyjudgmentof$212,874.93inUnitedStatesCurrency,pursuanttoFed.R.Crim .P.32.2(b)(1)
 and(2);Title18,UnitedStatesCode,Section981(a)(l)(C)andTitle28,UnitedStatesCode,Section
 2461(c.))Title 18,United StatesCode,Sedion 982(a)(2)(A);and Title 21,Unittd StatesCode,
 Section853û9.Docket#167.
        THEREFORE,IT ISHEREBY ORDERED,ADJUDGEDSAND DEcM ED thattheUnited

 Statesrecoverfrom AM Y R.ORTIZ a criminalforfeitlzre money judgmentin the amotmtof
 $212,874.93inUnitedStatesCurrencypursuanttoFed.R.Crim.P.32.2(b)(4)(A)and(B);Title18,
 UnitedStatesCodt,Sedion 981(a)(1)(C)andTitle2%,United StatesCode,St/tion 2461(c);Title
 18,UnitedStatesCode,Section982(a)(2)(A);andTitle2l,UnitedStatesCode,Section853û9.
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